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 5
                                UNITED STATES DISTRICT COURT
 6
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8
 9    NORTHWEST ADMINISTRATORS INC.,                            Case No. C20-548RSL

10                          Plaintiff,                          ORDER RE-NOTING
11                     v.                                       MOTION FOR DEFAULT
                                                                JUDGMENT
12    O-CO CONCRETE CONSTRUCTION LLC,
13                          Defendant.
14
15         This matter comes before the Court on plaintiff’s “Motion for and Affidavit for Entry of
16 Default Judgment.” Dkt. #11. Having reviewed the complaint, plaintiff’s motion, and the
17 supporting affidavit and exhibits, the Court finds that additional proof is necessary. Plaintiff’s
18 calculations regarding liquidated damages and pre-judgment interest are not sufficiently
19 explained and do not seem to be supported by the evidence provided.
20         Accordingly, plaintiff shall, within fourteen (14) days of the date of this Order, submit
21 additional proof to support the requested $2,234.53 in liquidated damages and $63.81 in pre-
22 judgment interest. The Clerk of Court is directed to re-note plaintiff’s “Motion for and Affidavit
23 for Entry of Default Judgment” (Dkt. #11) on the Court’s calendar for Friday, November 6,
24 2020.
25         DATED this 19th day of October, 2020.
26
27                                                    A
                                                      Robert S. Lasnik
28
                                                      United States District Judge
     ORDER RE-NOTING MOTION FOR DEFAULT JUDGMENT - 1
